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                                                      September 29, 2022


VIA ECF
Honorable Michael A. Hammer, U.S.M.J.
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

       Re:     Veronica Doe v. Rutgers University, et al.
               Civil Action No. 21-20763 (EP) (MAH)
               Joint Status Report in advance of Settlement Conference
               scheduled for November 1, 2022 at 11:00 A.M.

Dear Judge Hammer:

        Our firm represents Defendants in this matter. Pursuant to ¶ 7.a. of Your Honor’s Revised
Pretrial Scheduling Order (ECF No. 26), the parties hereby submit this joint status report to assist
the Court in determining “whether the in-person settlement conference may proceed as scheduled”
on November 1, 2022, at 11:00 A.M.

       Written Discovery: The parties exchanged written discovery in the time allowed by the
Revised Pretrial Scheduling Order. Each side anticipates making a supplemental document
production of documents before the end of this month and by the end of the discovery period, if
needed.

       Depositions: Plaintiff has deposed the following individuals:

      Rutgers’ employee Anwaar Najmi on August 2, 2022;
      Rutgers’ employee Christie Howley on August 17, 2022; and
      Defendant Dr. Scott Strother, a former Rutgers’ employee, on September 13, 2022.

        Plaintiff intends to take depositions of at least six more fact witnesses – including two non-
parties, three named Rutgers personnel, and one or more Rutgers 30(b)(6) witnesses – in the period
from October through December.

       Defendants plan to take Plaintiff’s deposition on October 14, 2022. Defendants have not
determined whether to take any other depositions.
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      Discovery Issues Raised by Plaintiff: On September 23, 2022, Plaintiff contacted
Defendants concerning two discovery issues:

      Defendants’ Answers to Interrogatories: Pursuant to Fed. R. Civ. P. 33, Plaintiff
       requested that Defendants provide specific identification of documents that Defendants
       referenced in connection with their answers to certain Interrogatories. Counsel have
       conferred on this issue and are working toward a resolution by which Defendants shall
       provide more specific identification as requested. Defendants expect to provide the
       requested information by October 11, 2022.

      Waiver of Privilege: This issue remains unresolved.
         o Plaintiff contends that Rutgers waived the attorney-client privilege as to certain
             communications: (1) current Rutgers employee Christie Howley’s deposition
             testimony on what she asked Rutgers’ general counsel about without an objection
             raised by counsel representing both Defendants. (Howley Dep. 28:20-29:21); (2)
             production by Defendants showing former Rutgers employee Defendant Scott
             Strother revealing the topic of his communications with Rutgers’ general counsel
             in correspondence with Rutgers University Police Department (RUPD) (Rutgers 87
             CONFIDENTIAL); and (3) Defendant Strother’s deposition testimony about
             communications by Rutgers’ general counsel during Plaintiff Veronica Doe’s Title
             IX grievance process without an objection raised by counsel representing both
             Defendants. (Strother Dep. 102:4-7, 302:11-14 & 307:3-9). Plaintiff preserved the
             waiver of privilege argument during Howley’s deposition while keeping the
             deposition open noting that counsel would seek Court guidance after receiving an
             expedited transcript. The Court’s Revised Pretrial Scheduling Order does not say
             Plaintiff has waived her argument about the same by holding open the deposition
             while waiting on the transcripts. Id., ¶ 5 (“Failure to contact Chambers for
             intervention before adjourning that deposition may constitute waiver of the right to
             seek relief from the Court.” (Emphasis added.) Regardless, the Court’s Order does
             not address any waiver from the production itself, which goes on to explain the
             inquiry that Rutgers’ general counsel wanted Defendant Strother to discuss with
             RUPD.
         o Defendants contend that none of the three items cited above by Plaintiff constitutes
             a waiver of privilege, for the following reasons: (1) Ms. Howley properly testified
             to the non-privileged fact that she reached out to a Rutgers in-house attorney, and,
             upon the timely invocation of privilege by Rutgers’ counsel, Ms. Howley properly
             declined to disclose the privileged substance of any legal advice that was given by
             that attorney. (2) The email from Dr. Strother to the campus police (which does
             not include any Rutgers in-house attorney) was properly produced without assertion
             of privilege because it merely refers to the non-privileged fact that Dr. Strother was
             emailing the campus police for assistance “At the instruction of our Office of
             General Counsel,” and makes no reference to the privileged substance of any legal
             advice from counsel. (3) The cited excerpts from Dr. Strother’s deposition
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              testimony do not even show that Dr. Strother had any involvement in or first-hand
              knowledge of any privileged communication, but rather refer only to the fact that
              that Rutgers’ Office of Employment Equity (which was not the office in which Dr.
              Strother worked) communicated with Rutgers in-house attorneys, and do not
              disclose the privileged substance of any legal advice given by the Rutgers in-house
              attorneys. (4) The attorney-client privilege as to legal consultation between Rutgers
              employees and the University’s Office of General Counsel belongs solely to
              Rutgers, and neither Dr. Strother nor Ms. Howley has the authority to waive that
              privilege. (5) In all events, Plaintiff waived her right to raise these issues with the
              Court at this time because these issues arose in the course of depositions and
              Plaintiff did not contact the Court to resolve these issues during the depositions,
              contrary to the Court’s Revised Pretrial Scheduling Order at ¶ 5: “If an unresolved
              dispute arises at a deposition, then the parties must contact the Chambers of the
              Undersigned for assistance during the deposition. Failure to contact Chambers for
              intervention before adjourning that deposition may constitute waiver of the right to
              seek relief from the Court.” (Emphasis in original.)

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     The parties are prepared to participate in the in-person settlement conference scheduled for
November 1, 2022, at 11:00 A.M.

       We thank the Court for its assistance.

                                                      Respectfully submitted,
                                                      s/ Sean R. Kelly
                                                      SEAN R. KELLY

cc:    Counsel of Record (via ECF)
